     Case 1:21-cv-00068-RAL      Document 172-1     Filed 04/26/24   Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF PENNSYLVANIA

 EDWARD LEON MAJOR,

       Plaintiff,                           CIV. ACTION NO. 1:21-cv-0068

       vs.

 REKHA HALLIGAN, et al,

       Defendants.

 DEFENDANT DR. HERBIK’S ANSWERS TO PLAINTIFF’S FIRST SET
                  OF INTERROGATORIES

      AND NOW COMES, Defendant Dr. Michael Herbik, by and through his

counsel and the law firm of Weber Gallagher and hereby submits the following

Answers to Interrogatories:

1.    IDENTIFY and EXPLAIN all facts supporting DEFENDANT’S affirmative

defense in his ANSWER that that the “cause of action is barred in whole or reduced

in part by the applicable doctrines of assumption of the risk, comparative negligence,

and/or contributory negligence.”

RESPONSE: Responding Defendant objects to the instant interrogatory as
asking for a legal conclusion and, as a result, no response is required. Further,
this Interrogatory improperly seeks information regarding attorney work
product and protected pursuant attorney client privilege.
     Case 1:21-cv-00068-RAL       Document 172-1      Filed 04/26/24   Page 2 of 7




2.    IDENTIFY and EXPLAIN all facts upon which DEFENDANT bases his

denial in Paragraphs 99-102 of his ANSWER, specifically his denial that “By late

2021, the SCI- Fayette Defendants were fully aware of Major’s medical condition

and his prevention measures—nitroglycerin pills, a heart-healthy diet, and an O/C

spray alert card—that had been approved more than four years earlier.”

RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records. Defendant further objects
to this Interrogatory as an attempt to improperly shift Plaintiff’s burden of
reviewing his own medical records to Defendant.


3.    IDENTIFY and EXPLAIN all facts upon which DEFENDANT bases his

denial in Paragraph 107 of his ANSWER, specifically his denial that “Major

immediately began to experience worsening symptoms, starting with a cough, runny

nose, and watery eyes, and progressing until Major began vomiting blood, feeling

light-headed, and experiencing chest constrictions. He took two nitroglycerin pills

to alleviate the pain in his chest and pressed the cell call button for assistance.”

RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records. Defendant further objects
to this Interrogatory as an attempt to improperly shift Plaintiff’s burden of
reviewing his own medical records to Defendant.
     Case 1:21-cv-00068-RAL      Document 172-1      Filed 04/26/24   Page 3 of 7




4.    IDENTIFY and EXPLAIN all facts upon which DEFENDANT bases his

denial in Paragraphs 110-115 of his ANSWER, specifically his denial that “Major

continually sought medical assistance to address these serious symptoms, but prison

officials routinely ignored his requests for assistance[.]”

RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records. Defendant further objects
to this Interrogatory as an attempt to improperly shift Plaintiff’s burden of
reviewing his own medical records to Defendant. By way of further response,
to the extent that the ‘prison officials’ referenced specifically in the
Interrogatory are alleged to have routinely ignored requests for assistance,
Responding Defendant, Dr. Herbik, is not an official of the prison but, a sub-
contracted provider of medical care.


5.    IDENTIFY and EXPLAIN all facts upon which DEFENDANT bases his

denial in Paragraphs 117-118 of his ANSWER, specifically his denial that “Major’s

physician at UPMC Hamot determined that his internal bleeding likely resulted from

the prison dispensing blood thinners to Major for four years longer than was

recommended.”

 RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records.


6.    IDENTIFY and EXPLAIN any and all facts that support the assertion that

DEFENDANT has provided PLAINTIFF with reasonable or adequate medical care.
     Case 1:21-cv-00068-RAL    Document 172-1    Filed 04/26/24   Page 4 of 7




RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records. Defendant further objects to
this Interrogatory as an attempt to improperly shift Plaintiff’s burden of
reviewing his own medical records to Defendant.


7.    IDENTIFY and EXPLAIN any and all reasons DEFENDANT has denied,

withheld, or failed to provide PLAINTIFF’S nitroglycerin medication.

RESPONSE: Defendant, Dr. Herbik, has not denied, withheld, or failed to
provide Plaintiff’s nitroglycerin. By way of further response, see Plaintiff’s
medical records, as well as those grievance records received by subpoena which
address and investigate this allegation.


8.    IDENTIFY and EXPLAIN any and all reasons DEFENDANT declined or

failed to designate PLAINTIFF with an O/C SPRAY contraindication.

RESPONSE: Defendant, Dr. Herbik, did not perform the routine Preventive
Health Risk Assessment tool where the suitability of Oleoresin Capsicum is
addressed.


9.    IDENTIFY and EXPLAIN all actions taken by DEFENDANT RELATING

TO PLAINTIFF’S prescriptions and medical care between November 4, 2021 and

April 16, 2022, as described in Paragraphs 103-115 of the AMENDED

COMPLAINT.

RESPONSE: Pursuant to Fed. R. Civ. P. 33(d), the information sought by this
Interrogatory is equally available to Plaintiff as it is to Defendant because the
information sought is recorded in Plaintiff’s medical records, which have been
produced to him. See, Plaintiff’s medical records. Defendant further objects
    Case 1:21-cv-00068-RAL   Document 172-1     Filed 04/26/24   Page 5 of 7




to this Interrogatory as an attempt to improperly shift Plaintiff’s burden of
reviewing his own medical records to Defendant.



                                    Respectfully submitted,

                       WEBER GALLAGHER SIMPSON STAPLETON
                               FIRES & NEWBY LLP

                             BY:     /s/ Benjamin M. Lombard
                                   Benjamin M. Lombard, Esquire
                                   blombard@wglaw.com
                                   PA322376

                                   Samuel H. Foreman, Esquire
                                   sforeman@wglaw.com
                                   PA I.D. 77096

                                   WEBER GALLAGHER SIMPSON
                                   STAPLETON FIRES & NEWBY, LLP
                                   Six PPG Place
                                   Suite 1130
                                   Pittsburgh, PA 15222
                                   (412) 281-4541
                                   (412) 281-4547 FAX
Case 1:21-cv-00068-RAL   Document 172-1   Filed 04/26/24   Page 6 of 7
     Case 1:21-cv-00068-RAL      Document 172-1    Filed 04/26/24   Page 7 of 7




                          CERTIFICATE OF SERVICE

      I, Benjamin M. Lombard, Esquire, hereby certify that on this date a true and

correct copy of the foregoing DEFENDANT DR. HERBIK’S ANSWERS TO

PLAINTIFF’S FIRST SET OF INTERROGATORIES was sent by e-mail to all

parties of record.



                                 David R. Osipovich
                                    Kira M. Geary
                                    Jonathan Vaitl
                                   K&L Gates LLP
                                  210 Sixth Avenue
                                Pittsburgh, PA 15222
                                Counsel for Plaintiff

                                  Scott A. Bradley
                             Office of Attorney General
                               1251 Waterfront Place
                                  Mezzanine Level
                               Pittsburgh, PA 15222
                            Counsel for DOC Defendants




                                            /s/ Benjamin M. Lombard
                                       Benjamin M. Lombard, Esquire

Dated:               April 25, 2024
